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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------- X Case No.: l:22-cv-04873-KAM-RML
 1567 56TH STREET, LLC, 1569 56TH STREET,
 LLC, and SHLOMO BRAUN,
                                              Plaintiffs,

                against                                             AFFIRMATION OF SERVICE

 ARTHUR SPITZER, JOSH WEINFELD,
 ISIDORE BLEIER, BSD REALTY HOLDINGS
 INC., 1567 56 NY LLC, DEKEL ABSTRACT
 LLC, ABRAHAM TEITELBAUM, ROSA
 FUNDING LLC, PS FUNDING, INC., and
 JEHUDA WEISZ,
                                               Defendants.
 -------------------------------------------------------------- X

     I, Yoel Weisshaus, pursuant to 28 U.S.C. § 1746, and being of full age, declare and state the
 following:

     1. On March 10, 2023,1 served a true copy of the First Amended Complaint dated March 3,
        2023 [ECF 31] By First-Class Mail Upon:

 Arthur Spitzer
 2370 Forest Circle
 Toms River, New Jersey 08755

     2. On March 10, 2023,1 served a true copy of the First Amended Complaint dated March 3,
        2023 [ECF 31] By First-Class Mail Upon:

 1567 56 NY LLC
 2370 Forest Circle
 Toms River, New Jersey 08755


 Dated:       Brooklyn, NY
              March 10, 2023
